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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY

 In re:
                                                  CHAPTER 13
 RANDALL S. D. JACOBS and
 JILL W. JACOBS,                                  Case No.: 10-46222-RG

               Debtors,


 RANDALL S. D. JACOBS and
 JILL W. JACOBS,
                                                  Adv. Pro. No.: 16-01528-RG
               Plaintiffs,

 Vs.
                                                  THIRD AMENDED ADVERSARY
 NATIONSTAR MORTGAGE, LLC d/b/a                   COMPLAINT
 MR. COOPER.




               Defendants.


          Plaintiffs, Randall Jacobs and Jill Jacobs (collectively “Plaintiffs”), by way of

Complaint against Defendant say as follows:

                                             PARTIES

          1.    Plaintiff Randall S.D. Jacobs ("Mr. Jacobs") is a Debtor in this joint

Chapter 13 matter residing at 5 Hampton Court, Caldwell, New Jersey 07066.

          2.    Plaintiff Jill Jacobs (“Mrs. Jacobs") is a Debtor in this joint Chapter 13

matter also residing at 5 Hampton Court, Caldwell, New Jersey 07066.
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       3.     Defendant Nationstar Mortgage, LLC is a business organization having

offices located at 8950 Cypress Waters Boulevard, Dallas, Texas 75019.

       4.     Former Defendant, Service One, Inc. d/b/a BSI Financial Services, as

servicing agent for US Bank Trust, N.A., as Trustee of the Cabana Series III Trust

(hereinafter collectively referred to as “BSI Financial”), is a mortgage servicer with its

headquarters located at 1425 Greenway Drive, Suite 400, Irving, Texas, who has been

dismissed from this action.

                               JURISDICTION AND VENUE

       5.     On November 23, 2010, Plaintiffs filed a voluntary joint petition for relief

under Chapter 13 of Title 11 of the United States Bankruptcy Code (the “Bankruptcy

Code").

       6.     This Court has subject matter jurisdiction over this adversary proceeding

and has personal jurisdiction over the Debtors pursuant to 28 U.S.C. §157 and §1334.

       7.     This adversary proceeding is a core proceeding arising under 11 U.S.C.

§101 et. Seq. and 28 U.S.C. §157(b)(2)(A) and (O).

       8.     Venue is proper in this district pursuant to 11 U.S.C. §1409.

                FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       9.     On May 13, 2005, Plaintiffs borrowed $750,000.00 from Wilmington

Finance, Inc., a division of AIG Federal Savings Bank (the “Original Lender") pursuant to

a 30-year fixed interest rate promissory note bearing an initial interest rate of 6.75% (the

"Note"). The monthly principal and interest payment was $4,764.49.

       10.    To secure repayment of the Note, Plaintiffs executed a Mortgage (the

"Mortgage") granting Original Lender a first priority security interest in real estate located

at 5 Hampton Court, Caldwell New Jersey 07066. The Mortgage was recorded as

Instrument No. 000005075671, at Book 10492 Page 816 in the county recorder's office

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of Essex County, New Jersey.

       11.    On or about February 26, 2011 the Original Lender assigned the Mortgage

to the Bank of New York Mellon Trust Company (the "Secured Creditor").

       12.    BAC Home Loans Servicing, LP ("BofA"), now known as Bank of America,

N.A., was the previous servicer for the mortgage loan at issue. Defendant Nationstar

Mortgage, LLC ("Nationstar") succeeded BofA as the servicer of the mortgage on or

about July 1, 2013, until being replaced by Shellpoint Mortgage Services, Inc.

(“Shellpoint”).

       13.        Upon information and belief, on or about December 19, 2018 BSI

Financial succeeded Shellpoint as the servicer of this Mortgage.

       14.    On November 23, 2010, Plaintiffs filed a joint petition for relief under

Chapter 13 of the Bankruptcy Code (the "filing date"). Plaintiffs' Chapter 13 repayment

plan (the "Plan") was confirmed by Court Order entered on March 31, 2011 and

contemplated a 100% distribution to creditors.

       15.    Pursuant to the terms of their Plan, Plaintiffs paid sixty consecutive monthly

payments to the Chapter 13 Trustee (the "Trustee"), and completed their Chapter 13

repayment plan obligations with a final payment on or about November 15, 2015 and

they received an Order of Discharge on or about June 3, 2016.

       16.    Approximately one year after the filing date, Plaintiffs applied for

participation in BofA’s mortgage modification program by complying with its continuing

and voluminous document requests.

       17.    By letter dated May 30, 2013, BofA informed Plaintiffs that they were

approved to enter into BofA's Trial Payment Plan (the "TPP") for mortgage modification.

The BofA TPP required Plaintiffs to make three (3) TPP payments for the months of July,

August and September 2013, each in the amount of $6,887.83. Plaintiffs made each of

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the aforementioned TPP payments on a timely basis.

          18.    By separate letter also dated May 30, 2013, BofA informed Plaintiffs that

the escrow portion of their monthly payments was to increase from $1,567.18 to

$1,761.41 effective July 1, 2013.      This letter also stated that the principal balance was

$674,393.99.

         19.    By letter dated June 11, 2013, BofA informed Plaintiffs that “the servicing

of [their] home loan had been transferred to Nationstar Mortgage LLC on July 01, 2013.”

This notice indicated that “if you are currently being considered for a loan modification .

. ., your new servicer Nationstar Mortgage is aware of your current status and will have

all of your documents.”

         20.    By letter dated July 11, 2013, Nationstar informed Plaintiffs’ counsel that it

had “recently acquired” the Mortgage.

         21.    By letter dated July 12, 2013, Nationstar informed Plaintiffs that

"Nationstar Mortgage is now the servicer for your mortgage account." This notice

conflicted with the aforementioned July 11, 2013 notice from Nationstar, in which it

indicated that it had "acquired" the Mortgage.

         22.    By letter dated July 31, 2013, Nationstar gave Plaintiffs contact information

for their designated “Single Point of Contact”, Naynay Russ ("Ms. Russ"). This letter

stated that Ms. Russ would "answer any further questions regarding [their) loan status or

possible assistance."

         23.    For the next five months, Mr. Jacobs called and (sometimes) faxed Ms.

Russ, but Ms. Russ never returned any of his calls or messages. However, Mr. Jacobs

did receive one telephone call from an unidentified agent or employee of Nationstar who

verbally confirmed that Nationstar “would honor the mortgage modification agreed to by

BofA”.

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        24.   It was not until October 2013 when Mr. Jacobs was finally able to get in

contact with an individual named Justin Harmel, an employee and/or agent of Nationstar.

Mr. Harmel further informed Mr. Jacobs that Nationstar would be sending a mortgage

modification agreement (the "Modification Agreement") to him in the near future.

        25.   On November 12, 2013, Plaintiffs received a Letter of Acknowledgment

from Nationstar enclosing the Modification Agreement. This letter stated in pertinent part

that:

              "[b]y executing this Letter of Acknowledgment and the Modification
              Agreement, [Plaintiffs] are agreeing to make a qualifying payment of $0.00
              for your Modification Agreement to become effective."

        26.   As the Plaintiffs were about to execute the Letter of Acknowledgment, Mr.

Jacobs discovered that the Modification Agreement overstated the principal balance of

the Mortgage by $35,429.04 to the incorrect amount of $709,823.03. This overstated

unpaid principal balance flatly contradicted the $674,393.99 contained in BofA's March

30, 2013 letter without mention of its receipt of any of the three TPP payments.

        27.   Because of the error in the principal balance due, Plaintiffs did not execute

or return the Modification Agreement to Nationstar. But after receiving the conflicting and

incorrect documentation from Nationstar, Mr. Jacobs attempted to contact Ms. Russ in

order to discuss the Modification Agreement and the discrepancies contained therein.

Once again, Mr. Jacobs did not receive a response from Ms. Russ.

        28.   By email dated November 13, 2013, Mr. Jacobs advised Mr. Harmel that

although he had received Nationstar's Modification Agreement, the unpaid principal

balance contained therein had inexplicably been increased from $674,393.99 to

$709,823.03. Mr. Jacobs further advised that timely and increased amounts of mortgage

payments constituting the Trial Payment Plan required by BofA had been



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paid for July, August and September 2013, and that he was ready, willing and able to

continue making monthly payments. Lastly, Mr. Jacobs requested that Nationstar provide

him with an updated Modification Agreement based on a corrected unpaid principal

balance.

      29.     Mr. Jacobs did not receive a response from Nationstar to his November 13,

2013 email.

      30.     In or about December 2013, after many unanswered telephone calls from

Nationstar, Mr. Jacobs managed to speak with another Nationstar employee and/or

agent. During this conversation, Nationstar's employee and/or agent advised him that

Nationstar was in the process of preparing a revised and corrected Modification

Agreement, and that Nationstar would defer the next payment due until it delivered the

revised and corrected Modification Agreement to Plaintiffs. Despite these assurances,

Mr. Jacobs never received a further response of any kind from Nationstar.

      31.     By certified letter and facsimile dated January 3, 2014, Mr. Jacobs again

contacted Ms. Russ and emphasized his frustration with Nationstar's lack of

communication, its failure to correct the overstated unpaid principal balance and to send

him a revised Modification Agreement as promised. Mr. Jacobs also attached a copy of

his November 13, 2013 email to Mr. Harmel for Ms. Russ's review. Mr. Jacobs did not

receive any form of response to his January 3, 2014 certified letter or facsimile sent to

Ms. Russ at Nationstar.

      32.     Despite Nationstar's failure to respond, Plaintiffs continued making

payments of principal and interest to Nationstar based on their own calculations as to the

correct and agreed interest rate and resulting payments due. Shortly thereafter, due to

Nationstar’s continuing failure to respond, Plaintiffs increased these payments to account

for payment of property taxes, and directly paid the home insurance carrier as

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they had been doing for years Plaintiffs continued to regularly make these monthly

mortgage payments until early 2014.

      33.    In March 2014, due in large measure to the stress caused by Nationstar’s

default in responding and failure to correct the Modification Agreement as agreed, Mr.

Jacobs suffered a heart attack and underwent emergency open heart surgery at

Morristown Memorial Hospital. He was hospitalized for approximately two (2) weeks, and

was unable to operate a motor vehicle or return to employment until the end of June

2014. As a result, Plaintiffs were only able to make intermittent payments to Nationstar

for several months.

      34.    Although Nationstar continued to cash Plaintiffs' mailed payment checks, it

never once sent the them a bill, statement of account, notice or response of any kind to

their numerous inquiries. Mr. Jacobs attempted to go online to the Nationstar website but

was not permitted to access his account or make any electronic payments.

      35.    In an effort to finally elicit a response from Nationstar, on or about April 9,

2014, Mr. Jacobs filed a complaint with the State of New Jersey Department of Banking

& Insurance (the "Banking Department").

      36.    By letter dated April 16, 2014, the Banking Department advised Mr.

Jacobs that it had received his complaint, and that its investigative staff would contact

Nationstar to request a complete response to the issues he had raised.

      37.    Notwithstanding the foregoing, Mr. Jacobs did not receive any

communication from Nationstar regarding the monthly mortgage payments made and/or

missed, its promised revision of the overstated unpaid principal balance due on the

Mortgage, or a revised Modification Agreement. Thus, Plaintiffs have no way of knowing

the exact monthly mortgage payments due, the amounts credited and/or deferred by

Nationstar, or the correct unpaid principal balance due on the Mortgage.

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       38.     On April 11, 2019 the Clerk of the Court marked the Plaintiffs’ Chapter 13

case closed.

       39.     On or about April 18, 2019, BSI Financial filed a Transfer of Claim Other

Than For Security (“Claim Transfer Notice”) with the Clerk of the Bankruptcy Court,

identifying itself as the transferee of the proof of claim submitted by Shellpoint on August

6, 2013 with respect to Plaintiffs’ Mortgage loan.

       40.     BSI Financial assumed the servicing of Plaintiffs’ Mortgage loan with actual

notice of the defects and improprieties committed by their predecessors Nationstar and

Shellpoint.

       41.     On May 29, 2019, just more than a month after BSI Financial filed the Claim

Transfer Notice with the Bankruptcy Court, BSI Financial entered into a Consent Order

with the United States Bureau of Consumer Financial Protection (“U.S. Consumer

Protection Bureau”) stemming from its numerous violations of the Consumer Financial

Protection Act of 2010 and the Real Estate Settlement Procedures Act. Specifically, the

U.S. Consumer Protection Bureau found that BSI Financial violated these federal laws

by:

               a.   Handling mortgage servicing transfers with incomplete or inaccurate
                    loss mitigation information. This resulted in failures to recognize
                    transferred mortgage loans with pending loss mitigation applications,
                    in-process loan modifications, and permanent loan modifications;

               b.   Handling mortgage servicing transfers with incomplete or inaccurate
                    escrow information resulting in untimely escrow disbursements;

               c.   Inadequately overseeing service providers, resulting in untimely
                    escrow disbursements to pay borrowers’ property taxes and
                    homeowners' insurance premiums;

               d.   Failing to promptly enter interest rate adjustment loan data for
                    adjustable rate mortgage (ARM) loans into its servicing system,
                    resulting in BSI sending monthly statements to consumers that sought
                    to collect inaccurate principal and interest payments; and


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              e.   Maintaining an inadequate document management system that
                   prevented BSI’s personnel or consumers from readily obtaining
                   accurate information about mortgage loans.

       42.    Pursuant to the aforementioned Consent Order, BSI Financial agreed to

pay a civil penalty of $200,000 plus restitution estimated to be $36,500, and are required

to establish and maintain a comprehensive data integrity program to ensure the accuracy,

integrity, and completeness of the data for loans that it services.

       43.    Since receiving notice of the transfer of their Mortgage loan account to BSI

Financial, Plaintiffs have sent monthly mortgage payments to BSI Financial beginning in

January 2019 and continuing each month thereafter based on the amount that they would

have paid had Nationstar honored the terms of the TPP and Modification Agreement

originally approved by BoFA.

       44.    Further, since receiving notice of the transfer of their Mortgage loan account

to BSI Financial, Plaintiffs have made numerous attempts to communicate with BSI

Financial about resolving the disputes concerning their Mortgage account. However,

these requests have been met with BSI Financial either providing unsatisfactory

responses that continue to rely on the same improper loan account records maintained

by their predecessors Nationstar and Shellpoint, or providing no response at all.

       45.    The aforementioned conduct by BSI Financial violates the terms of the

Consent Order which it entered with the U.S. Consumer Protection Bureau.

                                      COUNT ONE
                                  (Breach of Contract)

       46.    Plaintiffs repeat and incorporate by reference the allegations set forth in

Paragraphs 1 through 45 of this Complaint.

       47.    The May 30, 2013 TPP was an offer by BofA to modify Plaintiffs' 2005 Note

and Mortgage forming the basis for this action.

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       48.    Plaintiffs accepted BofA's offer.

       49.    Plaintiffs complied with all requirements necessary to accept BofA's offer to

modify the terms of the 2005 Note and Mortgage, including without limitation: timely

making the three (3) required TPP payments to Nationstar for the months of July, August

and September of 2013.

       50.    Plaintiffs’ acceptance of BofA's offer formed a binding contract (the "May

30, 2013 contract").

       51.    By offering the TPP, BofA had a duty to honor its terms and to provide

Plaintiffs with a Permanent Modification pursuant to same.

       52.    Nationstar and now BSI Financial, as successors to BofA, are obligated to

honor the terms of the TPP and to provide Plaintiffs with a Permanent Modification

pursuant to same.

       53.    Nationstar breached its duty to Plaintiffs under the May 30, 2013 contract

by grossly overstating the unpaid principal balance, failing to correct the unpaid principal

balance despite being duly notified of its error and refusing to provide the revised

Permanent Modification as promised.

       54.    Since taking over the servicing of Plaintiffs’ Mortgage account, BSI

Financial has continued to rely upon Nationstar’s faulty accounting by overstating the

unpaid principal balance, failing to correct the unpaid principal balance despite being

on actual notice of Plaintiffs’ lawsuit and claims, causing Plaintiffs’ real estate taxes

to become delinquent, double billing Plaintiffs for homeowners’ insurance despite

that Plaintiffs regularly have maintained insurance coverage on their home throughout

the duration of the loan, and refusing to provide Plaintiffs with the Permanent Modification.

       55.    Plaintiffs suffered economic damages as a proximate result of Nationstar's

conduct, which wrongful conduct has been continued by BSI Financial, including without

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limitation: loss of the benefit of the modification agreement, extracting money from him

that he would not otherwise have paid absent the TPP, increased and unnecessary

arrears, harm to their credit making obtaining of credit difficult, additional harm and

unnecessary fees to their mortgage balance, causing them to expend funds to defend

a potential additional foreclosure action, and causing them to expend funds related to

Mr. Jacobs’ medical treatment.

      56.    As a proximate result of Nationstar's conduct Mr. Jacobs suffered non-

economic damages including without limitation: suffering a heart attack requiring

medical intervention, an unsafe increase in his blood pressure, anxiety, stress, fear of

losing his home, lack of sleep, and inability to focus.

      57.    As a proximate result of Nationstar's wrongful conduct Mrs. Jacobs

suffered non-economic damages including, without limitation: anxiety, stress, fear

of losing her home, lack of sleep, and inability to focus.

      WHEREFORE, Plaintiffs demand entry of judgment against Nationstar as follows:

      A.     Compelling the delivery of a revised permanent mortgage modification

             pursuant to the terms of the May 30, 2013 contract;

      B.     Fixing the amount the proof of claim filed by Shellpoint and transferred to

             BSI Financial;

      C.     Fixing the amount due on the Note and Mortgage;

      D.     For compensatory and consequential damages;

      E.     For attorneys' fees and costs of suit; and

      F.     For such other and further relief as this Court deems just and proper.

                                 COUNT TWO
                          (Good Faith and Fair Dealing)

      58.    Plaintiffs repeat and incorporate by reference the allegations set forth

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in Paragraphs 1 through 57 of this Complaint.

       59.    Both the initial mortgage documents and the May 30, 2013 contract

imposed a duty of good faith and fair dealing on Nationstar.

       60.    Nationstar breached its duty to Plaintiffs by grossly overstating the unpaid

principal balance in the Modification Agreement, repeatedly and continually refusing in

bad faith to communicate with Plaintiffs after being put on notice of its error(s) and failing

to correct those error(s)

       61.    Nationstar denied Plaintiffs the benefit of the bargain originally intended

by the parties by intentionally stringing out the modification process, forcing them to

incur costs and then ultimately failing to issue a revised Modification Agreement as

promised.

       62.    Mr. Jacobs suffered economic damages as a proximate result of

Nationstar's conduct including without limitation: loss of the benefit of the modification

agreement, extracting money from him that he would not otherwise have paid absent

the TPP, increased and unnecessary arrears, harm to his credit making obtaining of

credit difficult, additional harm and unnecessary fees to his mortgage balance, causing

him to expend funds to defend a potential additional foreclosure action, and causing

him to expend funds related to medical treatment.

       63.    As a proximate result of Nationstar's conduct Mr. Jacobs suffered non-

economic damages including without limitation: heart attack requiring medical

intervention, unsafe increase in his blood pressure, anxiety, stress, fear of losing his

home, lack of sleep, and inability to focus.

       64.    Mrs. Jacobs suffered economic damages as a proximate result of

Nationstar’s conduct including, without limitation: loss of the benefit of the

modification agreement, extracting money from her that she would not otherwise

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have paid absent the TPP, increased and unnecessary arrears, harm to her credit

making obtaining credit difficult, additional harm and unnecessary fees to her

mortgage balance, and causing her to expend funds to defend a potential additional

foreclosure action.

       65.    As a direct and proximate result of Nationstar’s conduct, Mrs. Jacobs

suffered non-economic damages including, without limitation: anxiety, stress, fear of

losing her home, lack of sleep, and inability to focus.

       66.    BSI Financial, as the successor to Nationstar, is charged with the duty to

ensure that the information which it received from Nationstar about Plaintiffs’ Mortgage

loan account is truthful and accurate, especially considering that it assumed the servicing

of Plaintiffs’ Mortgage account in the midst of this litigation and with actual knowledge of

the Plaintiffs’ claims against its predecessor Nationstar.

       67.    Upon information and belief, BSI Financial has failed to conduct any due

diligence investigation of the records for Plaintiffs’ Mortgage loan account maintained by

the prior mortgage servicers Nationstar and Shellpoint Mortgage loan, by relying on

incomplete or inaccurate loss mitigation information and loan history.

       WHEREFORE, Plaintiffs demand entry of a judgment against Nationstar as

follows:

       A.     Compelling the delivery of a permanent mortgage modification in

              accordance with same;

       B.     Fixing the amount the proof of claim filed by Shellpoint and transferred to

              BSI Financial;

       C.     Fixing the amount due on the Note and Mortgage;

       D.     For compensatory and consequential damages;

       E.     For attorneys' fees and costs of suit; and

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      F.     For such other and further relief as this Court deems just and proper.


                                    COUNT THREE
                           (New Jersey Consumer Fraud Act)

      68.    Plaintiffs repeat and incorporate by reference the allegations set forth in

Paragraphs 1 through 67 of this Complaint.

      69.    Plaintiffs, Nationstar is a "person" as that term is defined in the New Jersey

Consumer Fraud Act, N.J.S.A. 56:8-1, et seq. (the “CFA”).

      70.    Plaintiffs’ relationship with Nationstar arose out of a “consumer

transaction” as that term is defined in the CFA.

      71.    Likewise, Plaintiffs’ relationship with BSI Financial arose out of a

consume transaction as that term is defined in the CFA.

      72.    Nationstar violated the CFA by engaging in unconscionable, unfair and

deceptive commercial practices, misrepresentations and fraud, including but not limited

to that described in detail in the preceding paragraphs, and summarized as follows:

             A.     Participating in a mortgage modification program but failing to

                    honestly or effectively implement it;

             B.     Refusing to honor the terms of the May 30, 2013 contract to

                    permanently modify Plaintiffs' mortgage despite their successful

                    completion and fulfillment of all requirements and/or obligations

                    pursuant to the TPP;

             C.     Unjustifiably and unreasonably inflating the unpaid principal balance;

             D.     Unjustifiably and unreasonably failing to communicate with Plaintiffs

                    after being notified of its errors.

             E.     Unjustifiably, unreasonably and repeatedly refusing to reply to

                    Plaintiffs' inquiries, whether they were by telephone, email, facsimile,
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                       certified mail or otherwise;

               F.      Extracting and/or attempting to extract money from Plaintiffs that

                       they would not have paid absent the TPP; and

               G.      Filing a motion for relief from the automatic stay to permit foreclosure

                       despite the May 30, 2013 contract to permanently modify Plaintiffs’

                       mortgage.

         73.   Likewise, BSI Financial has violated the CFA by knowingly and purposely

relying on inaccurate, incomplete and erroneous information about Plaintiffs’ Mortgage

account that it acquired from Nationstar, as evidenced by BSI Financial’s recent filing of

a relief from stay motion predicated on the faulty recordkeeping practices of its

predecessor Nationstar.        These wrongful actions by BSI Financial further constitute

unconscionable, unfair and deceptive commercial practices, misrepresentations and

fraud.

         74.   Plaintiffs    suffered   economic    damages    as a proximate       result of

Nationstar's and BSI Financial’s misconduct including without limitation: loss of the

benefit of the modification agreement, extracting money from them that they would not

otherwise have paid absent the TPP, increased and unnecessary arrears, harm to their

credit making obtaining of credit difficult, additional harm and unnecessary fees to their

mortgage balance, causing them to expend funds to prosecute the within action, and

causing them to expend funds related to medical treatment.

         WHEREFORE, Plaintiffs demand entry of a judgment against Nationstar as

follows:

         A.    For compensatory and consequential damages;

         B.    Fixing the amount the proof of claim filed by Shellpoint and transferred to

               BSI Financial;

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      C.     Fixing the amount due on the Note and Mortgage;

      D.     For treble damages;

      E.     For attorneys' fees and costs of suit; and

      D.     For such other and further relief as this Court deems just and proper.

                                   COUNT FOUR
                     (Violation of Real Estate Settlement and
                 Procedures Act (RESPA), 12 U.S.C. §2601, et seq.)

      75.    Plaintiffs repeat and incorporate by reference the allegations set forth in

Paragraphs 1 through 74 of this Complaint.

      76.    In a letter addressed to Nationstar dated January 3 ,2014, Mr.

Jacobsquestioned Nationstar's calculation of the balance due on his mortgage and his

monthly payment, “especially Nationstar’s miscalculation of the balance due.” In the

same letter Mr. Jacobs informed Nationstar that he was unable to access his account

online to make a payment, and that in the absence of receiving a monthly statement from

Nationstar he was “mailing yet another estimated payment (for December) in the

estimated amount of $4,500.” Mr. Jacobs concluded the letter by requesting Nationstar

to provide him with corrected “Loan Modification documents and corrected monthly

payment with calculations immediately.” Nationstar received this correspondence on

January 3, 2014 as confirmed by the telefax transmission report.

      77.    Due to Nationstar’s failure to respond to Mr. Jacobs January 3, 2014 letter,

on April 4, 2014 Mr. Jacobs filed a complaint with the State of New Jersey Department

of Banking and Insurance in an effort to solicit Nationstar’s response.

      78.    Mr. Jacobs’ letter of January 3, 2014 contained the necessary components

to be considered a qualified written request (“QWR”) pursuant to RESPA.

      79.    Nationstar failed to acknowledge receipt of the QWR within five business

days as required by RESPA.

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        80.   Nationstar failed to investigate the issues and concerns raised by Mr.

Jacobs in his January 3, 2014 correspondence, and failed to provide a written notice

either that his account was being corrected or a written notice of the reasons Nationstar

believed the account was correct as required by RESPA.

        81.   After receiving notice that BSI Financial was servicing his Mortgage loan

account, Mr. Jacobs sent BSI Financial a Qualified Written Request dated March 1, 2019

disputing the accuracy of the most recent mortgage statement he received from BSI

Financial, and further requesting, among other actions, that BSI Financial conduct its

own independent investigation and audit of his Mortgage account without merely relying

on the records maintained by the prior loan servicers.

        82.   Although BSI Financial responded to Mr. Jacobs’ Qualified Written Request

by letter dated May 1, 2019, it elected only to provide selective documentation that it

deemed necessary to validate the debt while choosing to deliberately withhold

addressing the balance of Mr. Jacobs’ informational requests under the guise that it

constituted a “litigation demand and should be requested within ongoing litigation

activity.”

        83.   Thereafter, BSI Financial proceeded to file a relief from stay motion

predicated on the same faulty records maintained by Nationstar even though the

Bankruptcy Court had previously denied Nationstar’s motion for summary judgment,

finding there are numerous genuine issues of material fact regarding the amount that its

predecessor Nationstar claimed was due and owing on Plaintiffs’ Mortgage account at

that time. BSI Financial filed the relief from stay motion in bad faith and with the intent

to avoid ever having to respond to the balance of Mr. Jacobs’ Qualified Written Request.

        84.   As a direct and proximate result of Nationstar’s and BSI Financial’s

wrongful actions, Plaintiffs have suffered economic and emotional damages, including

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 but not limited to a damaged credit rating that resulted in frustrating Plaintiffs’ efforts to

 refinance their mortgage, loss of equity in their property, stress, embarrassment, and

 humiliation.

        85.      RESPA provides for statutory damages in limited circumstances. An

 individual borrower may recover damages beyond actual damages for:

                any additional damages, as the court may allow, in the case of a pattern or
                practice of noncompliance with the requirements of this section, in an
                amount not greater than $2,000 for each member of the class, except that
                the total amount of damages under this subsection in any class action . . .

12 U.S.C. § 2605(f)(2)(B).

       86.       A Complaint was filed in Case Number 1:20-cv-03550, CFPB vs.

 Nationstar,       in    the      District   of     Columbia       and      available     at

 https://files.consumerfinance.gov/f/documents/cfpb_nationstar-mortgage-llc-dba-mr-

 cooper_complaint_2020-12.pdf

       87.       Paragraphs 12 and 13 of the aforementioned Complaint note:
                 12. For the purpose of RESPA, a servicer is a person “responsible for
                 servicing of a loan.” 12 U.S.C. § 2605(i)(2). Under RESPA, “servicing”
                 means “receiving any scheduled periodic payments from a borrower
                 pursuant to the terms of any loan…and making the payments of principal
                 and interest and such other payments with respect to the amounts
                 received from the borrower as may be required pursuant to the terms of
                 the loan.” 12 U.S.C. § 2605(i)(3).
                 13. Defendant is subject to RESPA as a mortgage servicer of federally
                 related mortgage loans.

       88.       Among other things, there were causes of action for violating borrowers In-

 Flight Modifications, failing to honor borrowers’ loan modification agreements and

 payments, delayed conversion of trial modifications into permanent modifications,

 causing interest payments and fees to accrue, as well as creating emotional distress.

 There were additional allegations that Nationstar improperly and “unilaterally increased

 borrowers’ permanent monthly payments [and wrongly calculated the UPB]” causing

 unnecessary foreclosures to result.

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      89.     There were additional allegations that Nationstar provided deceptive

responses to inquiries about borrowers’ accounts, or failed to respond to such inquiries

as required by applicable law. All of these activities constituted violations of CFPB Rules,

including 12 U.S.C. 1031 and 1036. These activities further violated 12 U.S.C. §§

5531(a) and 5536(a)(1)(B) and RESPA. See Paragraphs 58-69.

      90.     Among other things, the Consent Order, available at 1:20-cv-03551

Document 2-1, Filed 12/07/20, and available on the web from the Attorney General at

https://www.nj.gov/oag/newsreleases20/Nationstar-Consent-Judgment.pdf,            identified

that Nationstar would be fined over $16MM for failing to honor in-flight modifications,

failing to apply trial modification payments, increasing agreed upon final loan modification

payments and principal balances improperly, were prohibited from dual tracking files,

and were required to verify information and appropriately respond to consumer

complaints of inaccurate accounting.

      91.     The New Jersey Attorney General, Grewal Grubir, identified in a press

release that “in New Jersey, the settlement affects 2,075 borrowers, and has a total value

to those borrowers of approximately $3.45 million.”        See https://www.njoag.gov/ag-

grewal-announces-new-jerseys-participation-in-86-3-million-consumer-financial-

protection-settlement-with-nationstar-mortgage/.

      92.     The 2,075 borrowers identified, principally included those with in-flight

modifications that were not honored and ancillary accounting errors.

      93.     Statutory damages are available under RESPA due to Nationstar’s

established pattern or practice, adjudicated and determined in the Consent Order, which

affects the Plaintiffs and other New Jersey consumers.

      WHEREFORE, Plaintiffs requests entry of a judgment against Nationstar as

follows:

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      A.      For actual damages;

      B.      For statutory damages permissible under 12 U.S.C. §2605(f);

       C.     For attorneys' fees and costs of suit; and

       D.     For such other and further relief as this Court deems just and proper.


                                      COUNT FIVE
                  (Violation of the Fair Debt Collection Practices Act
                          (“FDCPA”), 15 U.S.C. §1962 et seq.)

       94.    Plaintiffs repeat and incorporate by reference the allegations set forth in

Paragraphs 1 through 93 of this Complaint.

       95.    Plaintiffs are natural persons allegedly obligated to pay a debt making them

“consumers” pursuant to 15 U.S.C. §1692a(3).

       96.    The note and mortgage serviced by Nationstar, and now BSI Financial, are

an obligation of the “consumer” Plaintiffs to pay for property that is primarily for personal

and family purposes making it a debt pursuant to 15 U.S.C. §1692a(5).

       97.    Nationstar and BSI Financial regularly collect or attempt to collect debts

due another and uses the mails in a business principal purpose of which is the collection

of any debts making both Nationstar and BSI Financial a “debt collector” as defined by

15 U.S.C. §1692a(6). Given the fact that both Nationstar and BSI Financial became the

loan servicer after Plaintiffs had defaulted on their Note and Mortgage and in the course

of the Plaintiffs’ subsequent Chapter 13 bankruptcy case, neither Nationstar nor BSI

Financial are not subject to the exemptions for original creditors and mortgage servicers

as the debt was in default at the time it was obtained by these defendants.

       98.    Nationstar and BSI Financial have each misrepresented the legal status of

this debt, has threatened to take action that cannot legally be taken, used false

representations to collect the debt, and has attempted to collect amounts not expressly

authorized by agreement or permitted by law in violation of 15 U.S.C. §§1692e and
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1692f.

         99.     Mr. Jacobs’ January 3, 2014 letter represents a dispute of a portion of the

alleged debt claimed by Nationstar under the note and mortgage. Nationstar failed to

provide verification of the debt in response to the January 3, 2014 letter, but continued

to send additional collection letters and make additional collection demands, including

its relief from stay motion filed with the Bankruptcy Court on February 17, 2016, all in

violation of 15 U.S.C. §1692g.

         100.    As a direct and proximate result of Nationstar’s wrongful actions, which BSI

Financial has continued, Plaintiffs have suffered economic and emotional damages,

including but not limited to loss of real and personal property, the loss of equity in their

property, a damaged credit rating which frustrated their efforts to refinance the note and

mortgage, stress, embarrassment and humiliation.

         WHEREFORE, Plaintiffs request entry of a judgment against Nationstar as

follows:

         A.      For actual damages pursuant to 15 U.S.C. §1692k;

         B.      For statutory damages at Plaintiffs’ election pursuant to 15 U.S.C.

                 §1692k(a)(2);

         C.      For attorneys' fees and costs of suit; and

         D.      For such other and further relief as this Court deems just and proper.



                                          COUNT SIX
                (Violation of Fair Credit Report Act, 15 U.S.C. §1681, et seq.
                                       & §1681-s(2)(b))

         101.    Plaintiffs repeat and incorporate by reference the allegations set forth in

Paragraphs 1 through 110 of this Complaint.

         102.    Nationstar is a “person” as defined in 15 U.S.C. §1681a.

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      103.   Upon information and belief, Nationstar regularly and in the ordinary course

of its business operations furnishes information to one or more consumer reporting

agencies about the consumer loans that it services.

      104.   Each of the Plaintiffs is a “consumer” as defined in 15 U.S.C. §1681a.

      105.   As of July 1, 2013, which is when Nationstar represents having assumed

the servicing and management of Plaintiffs’ mortgage loan, Nationstar acted as a

furnisher of information to consumer reporting agencies concerning Plaintiffs’ mortgage

loan. Thus, pursuant to 15 U.S.C. §1681s-2, Nationstar was prohibited from furnishing

any information relating to Plaintiffs’ mortgage loan to any consumer reporting agency if

Nationstar knew or had reasonable cause to believe that the information is inaccurate.

As a furnisher of information, pursuant to 15 U.S.C. §1681s-2(b)(1), Nationstar had a duty

to report any dispute over the alleged reporting to the credit reporting agency. Statutory

and punitive damages are permitted for an intentional failure to report any such dispute.

      106.   Further, Nationstar was prohibited from furnishing information about the

status of Plaintiffs’ mortgage loan to any consumer reporting agency once Mr. Jacobs

notified Nationstar on January 3, 2014, at the address where he was directed to send

notice, that the loan balance reflected in Nationstar’s proposed loan modification

agreement presented to Mr. Jacobs in November 2013 was inaccurate and in dispute.

Instead, Nationstar was required to take the following steps: furnishers must: (A) timely

conduct an investigation; (B) review all relevant information supplied by the consumer

reporting agency; (C) report the investigation results to the consumer reporting agency;

and (D) if the furnisher determines the information is inaccurate or incomplete, then the

furnisher must report the results to all other consumer reporting agencies to which the

furnisher supplied the inaccurate or incomplete information; and if the information

disputed by the consumer is inaccurate or incomplete or cannot be verified, then the

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furnisher must (i) modify that item of information; (ii) delete that item of information; or

(iii) permanently block the reporting of that item of information. 15 U.S.C. 1681s-

2(b)(1)(A-D). Nationstar made consumer credit reports, received a dispute, and failed to

conduct an appropriate investigation despite the report of their errors—resulting in these

negative remarks remaining on the consumers’ credit report for more than three years

and causing significant damages.

       107.   Notwithstanding Nationstar ignoring Mr. Jacobs’ written demand issued to

on January 3, 2014 to provide him with a proper loan modification agreement containing

correct figures, Plaintiffs tendered numerous mortgage payments to Nationstar from

2014 to 2018 based on Mr. Jacobs’ estimate of what his monthly payment would be had

Nationstar honored the terms of the TPP, which included reducing the interest rate from

6.75% to 5.5%. Nationstar accepted these payments without protest or comment. After

paying additional costs and charges, the Plaintiffs obtained a “homeowner’s line of credit”

(the “HELOC”) from Citizen’s Bank (in South New Jersey) in the amount of $75,000 and

were prepared to use the funds in the HELOC to pay Quicken’s additional fees in order

to get rid themselves of Nationstar as their mortgagee.

       108.   However, after some further inquiries, another private funding company

agreed to refinance the Nationstar mortgage without any “hidden” closing costs and fees.

Specifically, in March 2018 Plaintiffs made application to refinance their mortgage loan

with Bond Street Mortgage LLC, a mortgage broker based in Paramus, New Jersey.

       109.   With the assistance of Bond Street Mortgage LLC, Plaintiffs received

preliminary approval for a refinance loan in the principal amount of $679,650 at 4.25%

and were preparing to close on the refinancing as soon as Nationstar responded to Bond

Street’s standard request for payment history and to correct the disputed consumer

reporting errors.

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       110.     According to a Supplemental Report prepared by Universal Credit

Services, on April 18, 2018 for Nationstar, Nationstar reported the status of Plaintiffs’

mortgage loan to consumer reporting agencies as “still due for 11/1/15.” In other words,

on April 18, 2018 Nationstar falsely reported that Plaintiffs had not paid their Nationstar

mortgage since November 1, 2015, when in fact Plaintiffs had made numerous payments

to Nationstar throughout 2014 to 2018 notwithstanding Nationstar’s incorrect balance

calculation and failure to respond to all objections and disputes over this knowingly and

intentionally false consumer reporting.

       111.     The information furnished by Nationstar to consumer reporting agencies

on April 18, 2018 was inaccurate, and Nationwide had reasonable cause to know that

such information was inaccurate because of Mr. Jacobs’ prior letter issued to Nationstar

on January 3, 2014 demanding a corrected loan modification agreement with accurate

calculations.

       112.     Notwithstanding Mr. Jacobs’ repeated requests to provide him with a loan

modification agreement containing an accurate loan balance, Nationstar deliberately and

knowingly furnished consumer reporting agencies with inaccurate information about the

payment status of Plaintiffs’ loan while at the same time refusing to honor the terms of

the TPP as promised by the prior loan servicer BofA.

       113.     The aforesaid actions by Nationstar violate 15 U.S.C. §1681-s(2)(b).

       114.     The FCRA requires furnishers to determine whether the information that

they previously reported to a CRA is "incomplete or inaccurate." §1681s-2(b)(1)(D)

(emphasis added). In so mandating, Congress clearly intended furnishers to review

reports not only for inaccuracies in the information reported but also for omissions that

render the reported information misleading. Courts have held that a credit report is not

accurate under FCRA if it provides information in such a manner as to create a materially

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 misleading impression. See, e.g., Dalton v. Capital Associated Indus., Inc., 257 F.3d 409,

 415 (4th Cir. 2001); see also Koropoulos v. Credit Bureau, Inc., 734 F.2d 37, 40-42 (D.C.

 Cir. 1984) (reasoning that incomplete reporting can violate FCRA when it is

 "misleading"); Alexander v. Moore Assocs., Inc., 553 F.Supp. 948, 952 (D.Haw. 1982).

         115.   In addition, Nationstar’s failure to correct and update its inaccurate

 furnishing of information to credit reporting agencies as to the payment status of

 Plaintiffs’ mortgage loan violates 15 U.S.C. §1682s-2(b).

         116.   As a direct and proximate result of Nationstar’s reporting of inaccurate

 information about the status of Plaintiffs’ mortgage loan to consumer reporting agencies,

 and its failure to update these inaccuracies when requested by Plaintiffs, Bond Street

 Mortgage, LLC refused to close on Plaintiffs’ otherwise approved refinancing.

         WHEREFORE, Plaintiffs request entry of a judgment against Nationstar as

 follows:

         A.     Statutory damages, including punitive damages, pursuant to 15 U.S.C.

                 §1681-s(2)(b);

         B.      For attorney’s fees pursuant to 15 U.S.C. §1681-s(2)(b), (n) and (o);

         C.      Actual damages together with attorney’s fees and costs of suit pursuant to

                 15 U.S.C. §1681-s(2)(b), (n) and (o).

         D.      For such other and further relief as this Court deems just and proper.



                                                         FAZZIO LAW OFFICES


                                                         /s/ John P. Fazzio, Esq.
                                                         JOHN P. FAZZIO, ESQ.
                                                         Attorneys for Plaintiff
Dated:          August 12, 2023



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